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AO 199B (Rev. 12/11) Additional Conditions ofRelease                                                                                Page _2__ of   _a_ Pages
                                                 ADDITIONAL CONDITIONS OF RELEASE
      IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

(    ) (6)    The defendant is placed in the custody of:
              Person or organization
              Address (only if above is an organization)
              City and state _______________________                                                              Tel. No. _____________
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court immediately
if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                        Signed:------���------­
                                                                                                     Custodian                                     Date
( X ) (7) The defendant must:
     ( X ) (a) submit to supervision by and report for supervision to the Courtesy Supervision by ND of Ohio
               telephone number        (202) 442-1000 , no later than
     (   ) (b) continue or actively seek employment.
     (   ) (c) continue or start an education program.
     (   ) (d) surrender any passport to:
     (   ) (e) not obtain a passport or other international travel document.
     ( X ) (t) abide by the following restrictions on personal association, residence, or travel: Live at Lorain Ohio 44052

      (      ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                   including:

      (      ) (h) get medical or psychiatric treatment:

             ) (i) return to custody each _____ at ____ o'clock after being released at _____ o'clock for employment, schooling,
                   or the following purposes:

      (   ) G) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                necessary.
      ( X ) (k) not possess a firearm, destructive device, or other weapon.
      (   ) (l) not use alcohol (        ) at all (     ) excessively.
      (   ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                medical practitioner.
      (   ) (n) submit to testing for a prohibited substance ifrequired by the pretrial services office or supervising officer. Testing may be used with random
                frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
                substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
                substance screening or testing.
      (   ) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                supervising officer.
      (   ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                (    ) (i) Curfew. You are restricted to your residence every day (            ) from      _____ to ____ , or (                       ) as
                             directed by the pretrial services office or supervising officer; or
                (    ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical,
                             substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities
                             approved in advance by the pretrial services office or supervising officer; or
                (    ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                             court appearances or other activities specifically approved by the court.
      ( X ) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                requirements and instructions provided.
                ( X ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                       supervising officer.
      (   ) (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                arrests, questioning, or traffic stops.
      ( X ) (s) Stay out of DC except for Court, PSA business or to meet with Counsel. Notify PSA in advance of travel outside
                    the Northern District of Ohio. Court to approve all travel outside the Continental United States. GPS Monitoring.
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